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  Joseph R. Dunn(SBN 238069)
  jrdunn@mintz.com
  MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
  3580 Carmel Mountain Road, Suite 300
  San Diego, CA 92130
  Tel: 858-314-1500
  Fax: 858-314-1501

  Attorneys for James Welling, Creditor/Plaintiff




                             UNITED STATES BANKRUPTCY COURT

                              SOUTHERN DISTRICT OF CALIFORNIA


  In re                                               Case No. 15-04479-CL7

  ROMI JESSICA KIMELL,                                Chapter 7

                                Debtor.               Adversary No. 15-90182-CL


  JAMES WELLING,                                      STIPULATION FOR ENTRY OF
                                                      JUDGMENT OF
                                Plaintiff,            NONDISCHARGEABILITY

  v.
                                                      Courtroom: 5
  ROMI JESSICA KIMELL,                                Judge:     Hon. Christopher B. Latham

                                Defendant.



          Plaintiff and creditor James Welling ("Welling"), on the one hand, and defendant and debtor

  Romi Jessica Kimell ("Debtor"; together with Welling, the "Parties"), on the other hand, by and

  through their respective undersigned counsel, hereby submit this stipulation (the "Stipulation") and

  request that the Court enter judgment in favor of Welling and against the Debtor as set forth

  hereinbelow:

                                              RECITALS

          WHEREAS,on July 2, 2015, the Debtor commenced a chapter 7 case (the "Chapter 7 Case")

  in the U.S. Bankruptcy Court for the Southern District of California(the "Bankruptcy Court");




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          WHEREAS,on November 20, 2015, Welling filed a claim against the Debtor's estate in the

  amount of at least $657,199.40 (the "Claim"), including a claim of $600,000.00 based on the

  Debtor's theft of that amount of Welling's funds from Welling's residence, exclusive of interest and

  attorneys' fees;

           WHEREAS,on October 15, 2015, Welling commenced the above-captioned adversary

  proceeding against the Debtor (the "Adversary Proceeding"), seeking a judgment that Welling's

  Claim against the Debtor is not dischargeable under Sections 523(a)(6) and 523(a)(4), and objecting

  to the Debtor's discharge under Sections 727(a)(3), 727(a)(5) and 727(a)(4)(A);

           WHEREAS,on April 19, 2017, the Debtor was convicted oflarceny by the Superior Court

  for Essex County, Massachusetts, Criminal Division (the "Criminal Case"), for theft of Welling's

  funds, which conviction is currently on appeal by the Debtor (the "Appeal");

           WHEREAS,notwithstanding her conviction, the Debtor disputes the allegations set forth in

  the Adversary Proceeding, and denies she stole funds from Welling's residence; however, due to the

   risk and cost of litigating the Adversary Proceeding, Debtor is willing to settle this Adversary

   Proceeding by stipulating to judgment against her as set forth in the Judgment attached hereto as

   Exhibit A and Amended Judgment attached hereto as Exhibit B;

           WHEREAS,for purposes of this Stipulation and entry ofjudgment against her in the

   Adversary Proceeding, the Debtor stipulates to the accuracy of the following facts (the "Stipulated

   Facts"):

                 a. On or about April 27, 2014, the Debtor took at least $600,000.00 cash (the "Funds")

                    from Welling's residence at 5 Chatham Circle, North Andover, Massachusetts;

                 b. The Funds were the property of Welling;

                 c. The Debtor had no right to the Funds, nor peimission to take the Funds from Welling

                    or his residence; and

                 d. The Debtor took the funds unlawfully, with the intent to deprive Welling of

                    possession and use ofthe Funds;




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           NOW,THEREFORE,in light of the Stipulated Facts, and otherwise for good and valuable

  consideration, the adequacy of which is hereby acknowledged by the Parties, the Parties hereby

  stipulate and agree as follows:
                                                 STIPULATION

           1. The above Recitals, the accuracy of which are hereby confirmed by the Parties, are

                 incorporated by reference as if set forth in full.

           2. The Parties agree to and hereby request from the Court entry ofjudgment against the

                 Debtor as follows:

                 a. The Judgment attached hereto as Exhibit A shall be entered in favor of Welling and

                     against the Debtor in the amount of$600,000(the "Stipulated Debt");

                 b. Pursuant to the Judgment, the Stipulated Debt(i) shall be nondischargeable under 11

                     U.S.C. § 523(a)(4) as a debt for larceny(as that term is used in 11 U.S.C. §

                     523(a)(4)),(ii) shall not be discharged by virtue of any discharge entered in the

                     Debtor's pending Chapter 7 Case, and (iii) shall not be dischargeable in the event of

                     any subsequent case commenced by or against the Debtor at any time under Chapter

                     7, Chapter 11 or Chapter 13, or any other applicable Chapter under title 11 of the

                     United States Code in any jurisdiction;

                 c. The Judgment shall accrue post-judgment interest at the applicable Federal judgment

                     rate from entry until payment in full.

           3. The Debtor hereby waives all rights to seek judicial review of, or otherwise challenge or

                 contest the validity of, the Judgment.

           4. The Parties agree that immediately upon execution by the Parties and their respective

                 counsel ofthis Stipulation, the Judgment attached hereto as Exhibit A and the Amended

                 Judgment attached hereto as Exhibit B,the Debtor may file a motion (the "Seal Motion')

                 seeking permission from the Bankruptcy Court to file the Stipulation with Exhibits under

                 seal in the Adversary Proceeding, which relief has been requested by the Debtor and

                 Welling does not oppose.


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           5. In the event the Court grants the Seal Motion, this Stipulation and Exhibits shall be filed

                 by the Debtor under seal as directed by the Court within two (2) calendar days of entry of

                 the order on the Seal Motion. In the event the Debtor fails to timely file this Stipulation

                 and Exhibits pursuant to this section, Welling may file the same under seal as directed by

                 the Court in its order on the Seal Motion.

           6. In the event the Court denies the Seal Motion,(i) the Debtor shall not, and waives any

                 right to, appeal such denial, and (ii) the Debtor shall file the Stipulation with Exhibits in

                 the public record within two (2) calendar days of entry of the order on the Seal Motion.

                 In the event the Debtor fails to timely file this Stipulation and Exhibits pursuant to this

                 section, Welling may file the same in the public record.

           7. The Debtor agrees that, regardless of whether the Court grants the relief sought in the

                 Seal Motion, in the event any person (including the Debtor) contests enforcement of the

                 Judgment on the basis that the Judgment does not include factual findings consistent with

                 the Stipulated Facts, Welling may request the Court, on an ex parte basis and with

                 twenty-four(24)hours' notice to the Debtor, enter the Amended Judgment(the "Request

                 for Amendment"). The Request for Amendment shall be supported by a declaration from

                 Welling or his counsel setting forth the unpaid principal amount ofthe Judgment and

                 interest accrued thereon, which amounts shall be inserted into the form of Amended

                 Judgment presented for entry by the Court. The Debtor shall not, and waives any right

                 to, contest entry of the Amended Judgment, except with respect to the amount of the

                 unpaid principal amount and interest accrued thereon. The Debtor agrees to entry ofthe

                 Amended Judgment upon the filing by Welling of a Request for Amendment in

                 compliance with this section. The Debtor hereby waives all rights to seek judicial review

                 of, or otherwise challenge or contest the validity of, the Amended Judgment.

           8. The Bankruptcy Court shall maintain jurisdiction to enforce the terms of this Stipulation,

                 the Judgment and, if applicable, the Amended Judgment.

           9. Nothing in this Stipulation, Judgment or Amended Judgment,including the Stipulated

                 Facts, are intended to or shall have any affect, or be deemed an admission by the Debtor,
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                                                               , if the Appeal is successful, any further
                  in the Criminal Case or the Appeal(including
                                                                   , and any Stipulated Facts are agreed to
                  proceedings with respect to such Criminal Case)
                                                               lation and the Judgment.
                  by the Debtor only for purposes of this Stipu



       Dated: July l9, 2017



       Dated: July 19, 2017
                                                     Ronu Jessi             Debtor/Defendant
                                                                       mem
10     Dated: July 19, 2017
11                                                   Joseph R. Dunn                            P.C.
                                                     MINTZ LEVIN COHN FERRIS GLOVSKY AND Pone,
 12
                                                     Attorneys for James Welling, Plaintiff
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 14    Dated: July 19, 2017
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      EXHIBIT A
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  Joseph R. Dunn(SBN 238069)
  jrdunn@mintz.com
  MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
  3580 Carmel Mountain Road, Suite 300
  San Diego, CA 92130
  Tel: 858-314-1500
  Fax: 858-314-1501

   Attorneys for James Welling, Creditor/Plaintiff




                                UNITED STATES BANKRUPTCY COURT

                                SOUTHERN DISTRICT OF CALIFORNIA


   In re                                                 Case No. 15-04479-CL7

   ROMI JESSICA KIMELL,                                  Chapter 7

                                  Debtor.                Adversary No. 15-90182-CL

                                                         JUDGMENT OF
   JAMES WELLING,                                        NONDISCHARGEABILITY

                                  Plaintiff,
                                                         Courtroom: 5
   v.                                                    Judge:     Hon. Christopher B. Latham

   ROMI JESSICA KIMELL,

                                  Defendant.



           Pursuant to that certain settlement reached by and between plaintiff and creditor James

   Welling ("Welling"), on the one hand, and defendant and debtor Romi Jessica Kimell("Debtor;

   together with Welling, the "Parties"), on the other hand, as reflected in that certain Stipulation for

   Entry of Judgment of Nondischargeability filed in the above-captioned action (the "Stipulation"),

           IT IS HEREBY ORDERED,ADJUDGED AND DECREED THAT:

           1.     Judgment is entered in favor of Welling and against the Debtor in the principal

   amount of $600,000.00 (the "Nondischargeable Debt").

           2.     The Nondischargeable Debt is hereby deemed and shall be nondischargeable by the

  Debtor under 11 U.S.C. § 523(a)(4) as a debt for larceny (as that term is used in 11 U.S.C. §


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                                                   not be discharged by virtue ofany discharge entered in
      523(a)(4)). The Nondischargeable Debt shall
                                                    subsequent case commenced by or against the Debtor
      the Debtor's pending Chapter 7 Case or in any
                                                       er 13, or any other applicable Chapter under title 11
      at any time under Chapter 7, Chapter 11 or Chapt
       of the United States Code in any jurisdiction.
                                                                         e Debt shall accrue post-
               3.     The unpaid principal amount of the Nondischargeabl
                                                             from entry of this Judgm      ent until payment
 6 judgment interest at the applicable Federal judgment rate
       in full.
                                                                                 al review of, or otherwise
                  4.   The Debtor waives and shall have no right to seek judici

 9 challenge or contest the validity of, this Judgment.
                                                                         the Parties and this action tbr
10        5.      This Bankruptcy Court shall maintain jurisdiction over
                                                              the Stipulation.
11     purposes of enforcing the terms of this Judgment and
12
        Dated:
 13                                                          Hon. Christopher 13. Latham,
                                                             United States Bankruptcy Judge
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 16     AGREED TO FORM AND SUBSTANCE:

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 18     Dated:                                                            41. Debtor/Defendant
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       EXHIBIT B
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   Joseph R. Dunn(SBN 238069)
   jrdunn@mintz.com
   MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
   3580 Carmel Mountain Road, Suite 300
   San Diego, CA 92130
   Tel: 858-314-1500
   Fax: 858-314-1501

   Attorneys for James Welling, Plaintiff




                                UNITED STATES BANKRUPTCY COURT

                                SOUTHERN DISTRICT OF CALIFORNIA


   In re                                                 Case No. 15-04479-CL7

   ROMI JESSICA KIMELL,                                  Chapter 7

                                  Debtor.                Adversary No. 15-90182-CL

                                                         AMENDED JUDGMENT OF
   JAMES WELLING,                                        NONDISCHARGEABILITY

                                  Plaintiff,
                                                         Courtroom: 5
   v.                                                    Judge:     Hon. Christopher B. Latham

   ROMI JESSICA KIMELL,

                                  Defendant.



           Pursuant to that certain settlement reached by and between plaintiff and creditor James

   Welling ("Welling"), on the one hand, and defendant and debtor Romi Jessica Kimell ("Debtor";

   together with Welling, the "Parties"), on the other hand, as reflected in that certain Stipulation for

   Entry of Judgment of Nondischargeability filed in the above-captioned action (the "Stipulation");

   and good cause having been shown by Welling, pursuant to the Stipulation, for entry ofthis

   Amended Judgment,

           IT IS HEREBY ORDERED,ADJUDGED AND DECREED THAT:

           1.     This Amended Judgment shall amend, superseded and be deemed effective as of the

   date of entry ofthe original Judgment entered pursuant to the Stipulation (the "Judgment Date").


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           2.     Judgment is entered in favor of Welling and against the Debtor in the principal

   amount of $600,000.00 (the "Nondischargeable Debt") as of the Judgment Date.

           3.     Pursuant to the Stipulation, the Debtor agrees to the following factual findings (the

   "Stipulated Facts") in support of the relief granted herein:

                  a. On or about April 27, 2014, the Debtor took at least $600,000.00 cash (the

                      "Funds")from Welling's residence at 5 Chatham Circle, North Andover,

                      Massachusetts;

                  b. The Funds were the property of Welling;

                  c. The Debtor had no right to the Funds, nor peanission to take the Funds from

                      Welling or his residence; and

                  d. The Debtor took the funds unlawfully, with the intent to deprive Welling of

                      possession and use of the Funds;

           4.     The Nondischargeable Debt is hereby deemed and shall be nondischargeable by the

   Debtor under 11 U.S.C. § 523(a)(4) as a debt for larceny (as that term is used in 11 U.S.C. §

   523(a)(4)). The Nondischargeable Debt shall not be discharged by virtue of any discharge entered in

   the Debtor's pending Chapter 7 Case or in any subsequent case commenced by or against the Debtor

   at any time under Chapter 7, Chapter 11 or Chapter 13, or any other applicable Chapter under title 11

   of the United States Code in any jurisdiction.

           5.     The unpaid principal amount of the Nondischargeable Debt shall accrue post-

   judgment interest at the applicable Federal judgment rate from the Judgment Date until payment in

   full.

           6.     The Debtor waives and shall have no right to seek judicial review of, or otherwise

   challenge or contest the validity of, this Amended Judgment.

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                                                                                        and this action for
                7.  This Bankruptcy Court shall maintainjurisdiction over the Parties
                                                            ent and the Stipulation.
       purposes ofenforcing the terms of this Amended Judgm


       Dated:
                                                          Hon. Christopher B. Latham,
                                                          United Statei Bankruptcy Judge



       AGREED TO FORM AND SUBSTANCE:



 9 Dated:                                          Roma                    Debtor/Defendant
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       Dated:
                                                   Palmy Chern
 13                                                Seneca •Law roup
                                                   Attorneys for Defends      otni Jessica      mei
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